
PER CURIAM.
Pursuant to Wells Fargo Bank, N.A.'s Confession of Error, we reverse the trial court's July 27, 2017 Final Judgment of Foreclosure and remand this matter to the trial court for further proceedings. Appellant's Motion for Attorney's Fees, filed *1022September 19, 2017, is provisionally granted should Appellant ultimately be determined to be the prevailing party below. If so determined, the lower court shall determine and assess reasonable attorney's fees for this appellate court proceeding. See Fla. R. App. P. 9.400(a), (b).
REVERSED and REMANDED.
WALLIS, LAMBERT, and EDWARDS, JJ., concur.
